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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND

 

UNITED STATES OF AMERICA,
Plaintiff,
V. C.A. No. 13-442-JJM-PAS

STATE OF RHODE ISLAND,
Defendant.

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UNITED STATES OF AMERICA,
Plaintiff,

Vv. C.A. No. 14-175-JJM-PAS

STATE OF RHODE ISLAND,
Defendant.

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ORDER

On January 6, 2021, this Court entered an order (January 6» Order”)
following the Court Monitor, Dr. A. Anthony Antosh’s November 2020 Fiscal
Analysis, which assessed the funding needed to timely achieve the employment and
integrated community activity benchmarks of the Consent Decree. Following the
entry of the January 6 Order, the State began engaging with Dr. Antosh, Providers,
and others to address the budget assumptions and issues detailed in the November
2020 Fiscal Analysis and summarized in the January 6» Order. Fiscal staff members
from the Rhode Island House of Representatives and Senate, attended some initial
meetings, but did not actively engage. The Court then received two ex parte letters,

one from the Rhode Island House of Representatives, signed by Speaker K. Joseph
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Shekarchi and Majority Leader Christopher R. Blazejewski and one from the Rhode
Island Senate, signed by President Dominick J. Ruggerio and Majority Leader
Michael J. McCaffrey.

The Court believes it should clarify both the January 6 Order and some of the
requirements imposed on the State by the Consent Decree.

Based on their 2013 investigation of the State of Rhode Island, the United
States Department of Justice concluded that “the State failed to provide employment,
vocational and day services to persons with IDD in the most integrated setting... in
violation of the ADA.” Multiple concerns were cited including “lack of resources”;
“failure of the State’s rate setting methodology and reimbursement model to promote
integrated supported employment and day services”; and “the inflexibility of the
State’s reimbursement model.” The connection between fiscal stability of the
Developmental Disability system, workforce stability, and substantial compliance
with the Consent Decree is described in the attached summary.

The Court reminds the State that the Consent Decree provides that “the State

will ensure that it supports and maintains a sufficient capacity to deliver
Supported and Integrated Day Services to individuals [with I/DD], including qualified
supported employment providers and integrated day providers .. .” Consent Decree
at 20, XI.1. Furthermore, the Court’s Order mandates that “The State shall timely
fund the services and supports necessary to comply with this Consent Decree.”

Consent Decree at 24, XIV.3.
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To clarify the Parties to the Consent Decree!:

The State of Rhode Island entered the Consent Decree on April 8, 2014. The
Consent Decree defines “Rhode Island” or “the State” as “the State of Rhode Island,
including BHDDH and the Office of Rehabilitation Services (“ORS”), as administered
through the Department of Human Services, the Rhode Island Department of
Education (“RIDE”), and the Executive Office of Health and Human Services
(‘EOHHS”).” There is no limitation in this definition to only the identified State
agencies. For clarification,? the State of Rhode Island, a party to the Consent Decree,
is the entirety of the State.

To clarify the January 6¢t order:

There remain three years for the State to reach substantial compliance with
the Consent Decree. This Court finds that systemic actions by the State are needed
now to achieve substantial compliance. To that end, the Court finds that without an
annual investment that supports and maintains sufficient Provider capacity and a
stable workforce over each of the next three years, the State will violate this Court’s
January 6 Order and will not achieve substantial compliance by April 2024 as
required by the Consent Decree.

The State shall continue to develop a three-year budget strategy. That

strategy will address issues raised in the Court Monitor’s Fiscal Analysis. Both the

 

1 This clarification is not an amendment or change to what is memorialized in
the Consent Decree. It is simply a restatement of who is bound by the terms of the
Consent Decree.

2 This clarification is not an amendment or change to what the Consent Decree
memorializes. It is simply a restatement of who is bound under the Consent Decree.

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November 2020 Fiscal Analysis and the January 6th Order illustrate the systemic
fiscal issues that the State needs to address. They were based on the Court Monitor’s
fact-finding as well as State and stakeholder testimony at the November 24, 2020
Court hearing and are intended to be a framework for the three-year strategy. The
January 6th Order requires a three-year budget strategy but allows the State
flexibility to propose and negotiate with stakeholders in the development of the three-
year budget strategy. In any proposal introduced by the State and/or stakeholders,
proposals shall respond to the items described in the November 2020 Fiscal Analysis
and outlined in the January 6* Order, with the recognition that the final negotiated
three-year strategy may deploy different tactics for compliance with the Consent
Decree that drive system change and improve outcomes for consumers. The Court is
willing to adopt, by order, alternative proposals, so long as those proposals ultimately
lead to timely substantial compliance with the requirements of the Consent Decree.
The Court recognizes that some flexibility is required for the State when determining
strategies for FY 22, FY23, and FY24.

The Court requires that the State collaborate with the Providers and advocate
communities in the development of the three-year budget strategy that will support
sufficient funding to timely achieve the requirements of the Consent Decree. The
Court Monitor strongly recommends that the three-year budget plan be mutually
agreed to by both the State and the Providers. The State of Rhode Island will report
progress in developing this three-year budget proposal to the Court Monitor on April

30, 2021, May 31, 2021, and June 30, 2021. The Court will hold a status hearing in
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April 2021 to publicly assess the extent to which the identified fiscal and capacity
issues are being addressed and the extent to which the State and Providers have
reached mutual agreement.

That said, if the State and stakeholders are unable to come to an agreement in
these meetings, or if the State wishes to submit a three-year budget strategy proposal
that differs from the specifics of the January 6t* Order but would result in substantial
timely compliance with the Consent Decree, the State and, if they so choose,
stakeholders, may submit alternative proposals for consideration by the Court by
May 17, 2021. If such proposals are submitted, the Court will hold a fact-finding
hearing(s), where it will consider these proposals and may enter an order either
adopting the proposal it finds reasonable, or some combination of proposals
presented.

In summary and recognizing the flexibilities the Court assumes in the details,
the State shall continue to develop a negotiated three-year budget strategy and shall
address issues raised in the Court Monitor's Fiscal Analysis and in the January 6‘
Order, as well as address other measures that will support the requirements of the
Consent Decree. The strategy shall include, but will not be limited to, the following:

1. Address the problem of low compensation and high turnover that prevents
maintaining a stable and competitive workforce and sufficient Provider
capacity to provide supported employment services and integrated day services
to individuals with intellectual and developmental disabilities.

2. Establish mechanisms to support and address:
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a. Development of individualized service plans and individual budgets that
promote access to individualized employment and day and other
community activities in integrated settings.

b. Adequate transportation.

c. Technology acquisition.

d. Transition to a community-based model.

3. Given that the Consent Decree requires the State to “maintain sufficient
capacity” to ensure substantial compliance, provide for longer term strategies
that address:

a. Alignment of the funding and reimbursement rate system with plans for
a community-based model.

b. Ensure that future payment models align with federal standards for
Medicaid eligible services.

c. Establish consistent data collection and reporting requirements to
facilitate proper forecasting of costs, including strategies such as
including the Developmental Disability population in the semi-annual
caseload estimating conferences.

   

IT IS SO ORDERED. ;

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John J. McConnell, Jr.
Chief Judge
United States District Court

    

March 16, 2021
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Summary — Connection Between Fiscal Stability in the Developmental Disability
System and Workforce Stability and Compliance with the Consent Decree

Findings Letter. Based on their 2013 investigation of the State of Rhode Island, the United
States Department of Justice concluded in the January 6, 2014 Letter of Findings that “the State
failed to provide employment, vocational and day services to persons with IDD in the most
integrated setting...in violation of the ADA”.' Multiple findings were cited including “lack of
resources’; “failure of the State’s rate setting methodology and reimbursement model to
promote integrated supported employment and day services”; and “the inflexibility of the State’s
reimbursement model”?.

Consent Degree’. Two of the primary outcomes for compliance with the Consent decree are
that (1) “The State will provide Supported Employment Placements and Integrated Day
Services, as described in Sections V-VI, for individuals in the...target populations” (Section IV)
and “Integrated Day Services will be provided to all individuals in the... Target
Populations...for the remainder of all time set forth in an individual’s ISP in a 40-hour
work week in which such individuals are not in school or supported employment” (Section VI).
The Consent Decree lists multiple actions to be taken by the State to support these outcomes
including “The State shall timely fund the services and supports necessary to comply with
this Consent Decree for the eligible members of the... Target Populations according to the
standards and timelines set forth in this Consent Decree” (Section XIV, 3) and “the State... will
ensure that it supports and maintains a sufficient capacity to deliver...” the services
described in the Consent Decree. (Section XI, 1)

The State reports that there are 3,682 individuals currently active in the Consent Decree
populations — 2,469 adults and 1213 youth in transition.° To date, 941 adults have experienced a
supported employment placement (this meets the Consent Decree 12/31/2020 benchmark for the
day population, but not for the youth exit population or the sheltered workshop population).°

271 adults in the Consent Decree target population currently have individual jobs in integrated
settings, 7 are self-employed and 111 have provider-paid individual or group employment. 1335
adults participate in integrated day activities for an average of 9.8 hours per week.’ 271 adults in
the target population participate in a combination of employment and integrated day activities for
more than 10 hours — short of the Consent Decree benchmark.*®

Conclusion — Rhode Island is seven years into the Consent Decree. With three years
remaining there is significant work still to be completed.

 

' January 6, 2014 U.S. Department of Justice Findings Letter, page 5.

* January 6, 2014 U.S. Department of Justice Findings Letter, page 22.

> January 6, 2014 U.S. Department of Justice Findings Letter, pages 25-26.

+ Consent Decree, United States of America v. State of Rhode Island; April 2014.
> Consent Decree Quarterly Report, January 31, 2021-Census Data.

® Consent Decree Quarterly Report, January 31, 2021 - Employment Data.

7 Sherlock Employment and Day Activity Survey, data collected in October 2020.
8 Sherlock Employment and Day Activity Survey, data collected in October 2020.
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Barriers to Implementation. 399 family members and staff who support target population
members responded to a series of surveys during Summer, 2020. Among other questions, they
were asked to identify barriers to implementation of and compliance with Consent Decree goals
and benchmarks. The need for a stable high-quality workforce and additional funding were
identified by every group of respondents as two of the most significant needs. These themes
were reinforced by a survey of adults who have an intellectual disability, the Employment First
Task Force (a Consent Decree required stakeholder group) and the Legislative Commission on
Project Sustainability.

Fiscal Fragility of the Rhode Island Developmental Disability System. The state funded New
England States Consortium Systems Organization (NESCSO) Report’ documents the overall
fiscal instability of the provider system. The report examines three indicators of financial health
— net income margin, liquidity, and solvency. Re: Net Income Margin - In more than half of the
27 fiscal years reviewed, agencies reported losses. Re: Liquidity - Only 2 agencies met the
standard of three months available cash as recommended by the Non-Profit Finance Fund, 8
agencies had 1-2 months of available cash and 12 agencies had less than one month of available
cash. Re: Solvency — 2 agencies reported liabilities greater than assets, 17 reported assets greater
than liabilities. The critical portion of those assets are in non-liquid property and equipment that
are part of services and corporation. NESCSO’s conclusion is that these agencies are “fragile
and profoundly undercapitalized”.

Relationship Between Staff Stability and Outcomes Achieved by Adults with Intellectual
and Developmental Disabilities. There is a growing pool of research documents that a stable,
well trained workforce is a major factor that contributes both to program quality and to the
outcomes achieved by adults with intellectual and developmental disabilities.'°

Increased Difficulty in Recruiting and Retaining Direct Support Staff.

e Organizations that support adults with intellectual and developmental disabilities in RI
were asked for data on staff vacancies. 20 organizations responded. Cumulatively these
organizations have 2,194 Direct Support Professionals positions, of which 447 (20.3%)
are currently vacant.'!

e Those same organizations reported a mean turnover rate for the past six months of
29.94%. 14 of the organizations reported turnover rates higher than 25%.

e Adults and Families who participate in the Self-Directed Supports Users Group were
asked about difficulties in recruiting staff. 120 individuals responded. 80% reported
difficulty in recruiting and finding staff, 53% reported “a lot” of difficulty.'

e 68% of the self-directing individuals reported difficulty in retaining staff. The
primary barriers to retaining staff reported were low wages and lack of benefits.

 

° NESCSO; RI-BHDDH-Division of Developmental Disabilities System and Payments
Methodologies and Rates — A Quantitative and Qualitative Review; July 2020.

NESCSO Overview of the Fiscal Health of the Developmental Disabilities System; January 2020.
'0 Friedman, (2018); Bogenschutz et al (2014); Houseworth J. et al (2020); other references
available on request.

'l Monitor Survey, week of February 8, 2021.

'2 Monitor Survey, week of February 1, 2021.
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Direct Support Staff Wage Equity.

e Current hourly rate for Direct Support Staff in RI is $13.08.

e The Self-Directed Users cited above reported paying staff a mean hourly rate of
$17.37. Same respondents, when asked what they would like to pay, reported a
preferred mean hourly rate of $21.71.

e The current hourly starting rate for equivalent direct support staff (Community Living
Aide) for state operated RICLAS homes in $18.46.'>

Relationship Between Minimum Wage and Direct Support Staff Wage. Legislation
introduced in RI (S-0271, H-5130) propose to increase the RI minimum wage. The functions
and responsibilities of staff who provide direct support to adults who have intellectual and
developmental disabilities are significantly more challenging than many minimum wage
positions. The increase in RI minimum wage is a factor in developing an equitable wage. In
several state, the wage for direct support staff is considerable higher than the minimum wage
(e.g., in Utah the DSP rate is 72% higher than the state minimum rate).!4

Additional Costs Associated with Systemic Revision of Services and Supports. The
requirements of the CMS Home and Community-Based Services (HCBS) Rule and the Consent
Decree will result in a major change in how services and supports are provided to individuals
who have intellectual and developmental disabilities. Both mandate that all services be person-
centered and occur in integrated community settings. Operationally that means that provider
organizations need to transition from traditional center-based models with staffing patterns
of 1-5 or greater to a service model of 1-1 or 1-2 in community settings. There are
additional costs associated with this transition including (a) the need for additional staff
supports, (b) the need to redefine staff functions and provide appropriate training and
supervision, (c) the need for new methodologies that facilitate comprehensive individual
planning and (d) the need to provide services that will provide community access (e.g.,
transportation, technology, others).

Conclusions:

e There are only three years remaining to achieve substantial compliance with the Consent
Decree. Systemic actions are needed to achieve substantial compliance.

e The NESCSO Report, the Legislative Commission on Project Sustainability and other
sources have documented the fiscal fragility of the Developmental Disabilities System.

e The foundational element of system stability, both for individuals who self-direct and for
provider organizations, is the capacity to recruit and retain qualified staff.

e It is the opinion of the Court that without rate restructuring and an annual investment that
“_,.supports and maintains a sufficient capacity”'* and a stable workforce over each of
the next three years, the State will not achieve substantial compliance by April 2024.

 

'3 Schedule 300, Council 94, Step 1.

14 ANCOR, UCP, Included Supported Empowered; The Case for Inclusion 2020 —Key Findings
Report.

'5 Consent Decree, United States of America v. State of Rhode Island; April 2014.
